   Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 1 of 60




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


DONALD FALLS, et al.,

                    Plaintiffs,            Case No. 4:22-cv-166-MW/MJF

               v.

RON DESANTIS, in his official
capacity as Governor of Florida, et al.,

                    Defendants.


 DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
         MOTION FOR PRELIMINARY INJUNCTION


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June 1, 2022
      Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 2 of 60




                                        TABLE OF CONTENTS

                                                                                                                 Page

TABLE OF AUTHORITIES ................................................................................... iii

INTRODUCTION .....................................................................................................1

FACTUAL BACKGROUND ....................................................................................4

    I.       Florida’s Elected Officials Are Empowered To Set the Curriculum for
             Public Schools and To Stamp Out Discrimination in the Workplace. ....... 4

    II.      Florida’s Individual Freedom Act. ............................................................. 7
                  A. The Act’s Education Provisions....................................................... 7
                  B. The Act’s Employment Provisions ................................................12

    III.     Plaintiffs Brought Suit Challenging the Act Under the First Amendment
             and Due Process Clause............................................................................12

STANDARD OF REVIEW .....................................................................................14

ARGUMENT ...........................................................................................................14

    I.       Several of Plaintiffs’ Claims Are Non-Justiciable. ..................................14
    II.      The Act’s Educational Provisions and the Challenged Regulation Are
             Constitutional............................................................................................14
                  A. Rules Governing Curriculum and In-Class Instruction in Public
                     Schools Regulate Pure Government Speech and Are Not Subject
                     to First Amendment Analysis. .......................................................14

                  B. Individual Teachers Do Not Have the “Academic Freedom”
                     To Control Florida’s Public School Curriculum............................22

                  C. Public School Students Do Not Have A First Amendment Right
                     To Dictate Their Own Curriculum. ................................................26




                                                           i
      Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 3 of 60




                 D. The Act’s Educational Provisions Satisfy Any Standard of
                    Heightened Constitutional Scrutiny. ..............................................28

                 1.       The Education Provisions Are Narrowly Tailored To Serve
                          A Compelling Government Interest. .........................................28

                 2.       Plaintiffs’ Contrary Arguments Fail. ........................................31
    III.     The Act’s Employment Provisions Are Constitutional. ...........................34

                 A. The Employment Provisions of the Act Govern Conduct,
                    Not Speech. ....................................................................................34
                 B. In Any Event, the Employment Provisions Also Survive
                    Heightened Scrutiny. ......................................................................39

                 1.       Under the Captive Audience Doctrine, at Most Intermediate
                          Scrutiny Applies........................................................................39

                 2.       The Employment Provisions Survive Any Level of Heightened
                          Constitutional Scrutiny. ............................................................42

    IV.      The Challenged Provisions Are Not Unconstitutionally Vague. ............. 44
    V.       Any Unconstitutional Provisions Are Severable......................................48
    VI.      Plaintiffs Are Not Entitled to a Preliminary Injunction. ..........................49

                 A. Plaintiffs Have Not Shown Irreparable Injury. ..............................49

                 B. The Balance of the Equities Militates Against Preliminary
                    Injunctive Relief. ............................................................................50

CONCLUSION ........................................................................................................50




                                                         ii
      Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 4 of 60




                                    TABLE OF AUTHORITIES
Cases                                                                                                      Page
ACLU of Fla., Inc. v. Miami-Dade Cnty. Sch. Bd.,
    557 F.3d 1177 (2009) ............................................................................. 26, 27
Adams v. Trustees of Univ. of N.C.-Wilmington,
     640 F.3d 550 (4th Cir. 2011) .........................................................................21
Arce v. Douglas,
      793 F.3d 968 (9th Cir. 2015) ...................................................................28, 29
Austin v. Univ. of Fla. Bd. of Tr., No. 1:21-cv-184-MW/GRJ,
      2022 WL 195612 (N.D. Fla. Jan. 21, 2022) ..................................................22
Bethel Sch. Dist. No. 403 v. Fraser,
      478 U.S. 675 (1986).................................................................................40, 41
Bishop v. Aronov,
      926 F.2d 1066 (11th Cir. 1991) ......................... 19, 20, 23, 25, 28, 31, 32, 47
Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26 v. Pico,
       457 U.S. 853 (1982).......................................................................................26
Brown v. Bd. of Educ. of Topeka, Kan.,
     349 U.S. 294 (1955)...................................................................................1, 30
Buchanan v. Alexander,
     919 F.3d 847 (5th Cir. 2019) .........................................................................21
Chiras v. Miller,
      432 F.3d 606 (5th Cir. 2005) ...................................................................26, 28
Coal. to Def. Affirmative Action v. Granholm,
      473 F.3d 237 (6th Cir. 2006) .........................................................................25
Dana’s R.R. Supply v. Att’y Gen. of Fla.,
     807 F.3d 1235 (11th Cir. 2015) .....................................................................35
Demers v. Austin,
     746 F.3d 402 (9th Cir. 2014) .........................................................................21
District of Columbia v. Heller,
       554 U.S. 570 (2008)...................................................................................... 20
Edwards v. Calif. Univ. of Penn.,
     156 F.3d 488 (3d Cir. 1998) ....................................................................18, 24




                                                        iii
      Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 5 of 60




Erznoznik v. City of Jacksonville,
     422 U.S. 205 (1975)...................................................................................... 40
Evans-Marshall v. Bd. of Educ. of Tipp City Exempted Vill. Sch. Dist.,
     624 F.3d 332 (6th Cir. 2010) .................................................................. 17, 18
Frisby v. Schultz,
      487 U.S. 474 (1988).................................................................... 39, 40, 42, 43
Garcetti v. Ceballos,
     547 U.S. 410 (2006)................................................................................ 16, 17
Gilder-Lucas v. Elmore Cnty. Bd. of Educ.,
      186 F. App’x 885 (11th Cir. 2006) ................................................................19
Harris v. Forklift Sys., Inc.,
      510 U.S. 17 (1993).........................................................................................44
Hazelwood Sch. Dist. v. Kuhlmeier,
     484 U.S. 260 (1988)................................................................................ 15, 28
Hill v. Colorado,
       530 U.S. 703 (2000)...........................................................................39, 41, 42
In re Hubbard,
       803 F.3d 1298 (11th Cir. 2015) .............................................................. 31, 32
Johnson-Kurek v. Abu-Absi,
     423 F.3d 590 (6th Cir. 2005) .........................................................................24
Jones v. United Space All., L.L.C.,
      494 F.3d 1306 (11th Cir. 2007) ...................................................................... 7
Keyishian v. Bd. of Regents of Univ. of State of N.Y.,
      385 U.S. 589 (1967)...................................................................................... 22
Kirkland v. Northside Indep. Sch. Dist.,
      890 F.2d 794 (5th Cir. 1989) .................................................................. 18, 21
Lane v. Franks,
      573 U.S. 228 (2014).......................................................................................29
Lee v. York Cnty. Sch. Div.,
       484 F.3d 687 (4th Cir. 2007) .................................................................. 18, 21
Lehman v. City of Shaker Heights,
     418 U.S. 298 (1974).......................................................................................40
Loving v. Virginia,
      388 U.S. 1 (1967)............................................................................................ 1

                                                         iv
      Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 6 of 60




Maryland v. King,
     567 U.S. 1301 (2012).....................................................................................50
Mayer v. Monroe Cnty. Cmty. Sch. Corp.,
     474 F.3d 477 (7th Cir. 2007) .........................................................................17
Meriweather v. Hartop,
     992 F.3d 492 (6th Cir. 2021) .................................................................. 21, 22
Miller v. Johnson,
      515 U.S. 900 (1995).........................................................................................1
Nat’l Inst. of Family & Life Advocates v. Becerra,
       138 S. Ct. 2361 (2018)...................................................................................35
NetChoice, LLC v. Moody, No. 21-12355,
     2022 WL 1613291, __ F.4th __, __ (11th Cir. May 23, 2022) .................... 31
NLRB v. Gissel Packing Co.,
    395 U.S. 575 (1969)...................................................................................... 41
Parents Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1,
     551 U.S. 701 (2007).......................................................................................25
Pickering v. Bd. of Educ. of Twp. High Sch. Dist. 205, Will Cnty.,
      391 U.S. 563 (1968).................................................................................18, 29
R.A.V. v. City of St. Paul, Minn.,
      505 U.S. 377 (1992).......................................................................................32
Regents of the Univ. of Mich. v. Ewing,
     474 U.S. 214 (1985)...................................................................................... 25
Roberts v. U.S. Jaycees,
     468 U.S. 609 (1984)...................................................................................... 43
Robinson v. Jacksonville Shipyards, Inc.,
     760 F. Supp. 1486 (M.D. Fla. 1991) .............................................................42
Rosenberger v. Rector and Visitors of Univ. of Va.,
     515 U.S. 819 (1995).................................................................................15, 16
Rowan v. U.S. Post Off. Dep’t,
     397 U.S. 728 (1970)................................................................................ 39, 42
Rumsfeld v. FAIR, Inc.,
     547 U.S. 47 (2006).............................................................................36, 37, 38
Seminole Tribe of Fla. v. Florida,
     517 U.S. 44 (1996)........................................................................................ 16

                                                        v
      Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 7 of 60




Shurtleff v. City of Boston,
      142 S. Ct. 1583 (2022).............................................................................15, 32
Solantic, LLC v. City of Neptune Beach,
      410 F.3d 1250 (11th Cir. 2005) .....................................................................30
Sorrell v. IMS Health Inc.,
      564 U.S. 552 (2011)................................................................................ 35, 36
Sweezy v. New Hampshire,
     354 U.S. 234 (1957).......................................................................................24
United States v. Nat’l Treasury Emps. Union,
      513 U.S. 454 (1995).......................................................................................29
Urofsky v. Gilmore,
      216 F.3d 401 (4th Cir. 2000) (en banc) ........................................................ 24
Virgil v. Sch. Bd. of Columbia Cnty., Fla.,
       862 F.2d 1517 (11th Cir. 1989) .............................................................. 27, 28
Walker v. Tex. Div., Sons of Confederate Veterans, Inc.,
     576 U.S. 200 (2015).................................................................2, 14, 15, 16, 17
Wieman v. Updegraff,
     344 U.S. 183 (1952).......................................................................................22
Wollschlaeger v. Gov., Fla.,
      848 F.3d 1293 (11th Cir. 2017) ................................ 32, 33, 37, 44, 45, 48, 49
Wreal, LLC v. Amazon.com, Inc.,
     840 F.3d 1244 (11th Cir. 2016) ...............................................................14, 49
Constitutions, Statutes, and Rules
42 U.S.C. § 2000e ....................................................................................................44
FLA. CONST.
      Art. I, § 2 ..........................................................................................................4
      Art. III, § 8(a)...................................................................................................4
      Art. IX § 1(a) .................................................................................................. 4
FLA. STAT.
      § 760.01 .......................................................................................................... 6
      § 760.10 ...........................................................................................................7
      § 760.10(1) .....................................................................................................12
      § 760.10(1)(8)(b) ...........................................................................................12
      § 760.10(8) .....................................................................................................12
      § 760.10(8)(a) ..........................................................................................35, 36

                                                             vi
      Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 8 of 60




         § 760.10(8)(b) ................................................................................................12
         § 760.10(8)(a)(7)............................................................................................48
         § 1000.01 .........................................................................................................5
         § 1000.03(2)(a) ................................................................................................6
         § 1000.03(5)(a)-(c) ..........................................................................................5
         § 1000.05(2)(a) ................................................................................................6
         § 1000.05(4)(a) ..............................................................................................12
         § 1000.05(4)(a)(1)-(8)..............................................................................7, 8, 9
         § 1000.05(4)(b) ................................................................................................9
         § 1003.42(2) .....................................................................................................5
         § 1003.42(2)(a) ............................................................................................4, 5
         § 1003.42(2)(h) ........................................................................................10, 11
         § 1003.42(2)(s)(1) ............................................................................................5
         § 1003.42(3) .............................................................................. 1, 9, 10, 30, 31
         § 1006.31(2)(d) ..............................................................................................10
         § 1012.98(4)(b)(1) .........................................................................................10
FLA. ADMIN. CODE r. 6A-1.094124(3)(b).......................................................6, 45, 46
2022 Fla. Laws 72, § 8 ...............................................................................................7


Other Authorities
Declaration of John D. Ohlendorf (June 1, 2022)
      Exhibit 1...................................................................................................33, 34
      Exhibit 2.........................................................................................................34
      Exhibit 3.........................................................................................................46
      Exhibit 4...................................................................................................46, 47




                                                            vii
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 9 of 60




                                  INTRODUCTION

      “At the heart of the Constitution’s guarantee of equal protection lies the simple

command that the Government must treat citizens as individuals, not as simply

components of a racial, religious, sexual or national class.” Miller v. Johnson, 515

U.S. 900, 911 (1995) (cleaned up). “All provisions of federal, state, or local law

requiring or permitting such discrimination must yield to this principle.” Brown v.

Board of Educ. of Topeka, Kan., 349 U.S. 294, 298 (1955).

      Impelled by the fundamental moral principle at the root of the Equal

Protection Clause—that discriminating against people solely because of their race,

sex, or other immutable characteristics is “odious to a free people whose institutions

are founded upon the doctrine of equality, ” Loving v. Virginia, 388 U.S. 1, 11 (1967)

(cleaned up)—the State of Florida has enshrined in the statute at issue in this case,

the Individual Freedom Act, six “principles of individual freedom.” Among the six

are principles such as “[n]o person should be discriminated against or receive

adverse treatment solely or partly on the basis of race, color, national origin, religion,

disability or sex”; “[n]o person is inherently racist, sexist, or oppressive”; and “[n]o

race is inherently superior to another race.” FLA. STAT. § 1003.42(3) (as amended

by the Act). Believing these principles to be fundamental and sacrosanct, Florida has

directed that they cannot be contradicted in the instruction provided to students in




                                            1
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 10 of 60




its public schools and universities, nor in the training mandated by Florida employers

for their employees.

      Plaintiffs have brought suit challenging the Act’s provisions related to these

principles—both in the educational context and the employment context—as

contrary to the First Amendment, and they have requested a preliminary injunction

preventing the Act from taking effect. The request must be denied.

      Plaintiffs’ First Amendment challenge to the educational provisions fails

because the Act regulates pure Government speech—the curriculum used in state

schools and the in-class instruction offered by state employees—and the First

Amendment simply has no application in this context. “When government speaks, it

is not barred by the Free Speech Clause from determining the content of what it

says.” Walker v. Texas Div., Sons of Confederate Veterans, Inc., 576 U.S. 200, 207

(2015). Indeed, that is the only way government of any kind can go on; for if the

First Amendment required content neutrality in this context, the government would

be forced “to voice the perspective of those who oppose” it. Id. at 208. Here, the Act

does not prevent the State’s educators from espousing whatever views they may

hold, on race or anything else, on their own time, and it does not prevent students

from seeking them out and listening to them. All it says is that state-employed

teachers may not espouse or advocate in the classroom views contrary to the

principles enshrined in the Act, while they are on the State clock, in exchange for a


                                          2
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 11 of 60




State paycheck. The First Amendment does not compel Florida to pay educators to

advocate ideas, in its name, that it finds repugnant. And even if the First Amendment

did apply here, Florida’s compelling interest in stamping out discrimination based

on race and other immutable characteristics amply justifies any burden on speech

the Act may impose.

      The Act’s employment provisions pass constitutional muster for similar

reasons. Here too, the Act does not limit any speech that is protected by the First

Amendment. Anything that a Florida employer could say (or could hire consultants

to say) before the Act takes effect can still be said after, just as freely and in exactly

the same manner. What the Act does—all it does—is prevent employers from

conscripting their employees, against their will, into the audience as a condition of

their employment. The First Amendment may protect the right of employers (and

their paid consultants) to espouse the ideas that a person should be “discriminated

against … on the basis of race,” and that one race is “inherently superior to another

race.” And it may protect the rights of employees to seek out, listen to, and share

those views. What it does not protect is the ability of employers to use their economic

leverage over their workers to force them to listen to such odious views, on pain of

losing their jobs. That is conduct, not speech, and the First Amendment has nothing

to say about it. And once again, even if it did, the Act would easily pass any level of




                                            3
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 12 of 60




heightened constitutional scrutiny, given the State’s unquestionably compelling

interest in eliminating open racial discrimination in the workplace.

        Plaintiffs are not likely to succeed on the merits of their claims, the balance

of the equities favors enforcement of the Act, and the motion for preliminary

injunction should be denied.

                            FACTUAL BACKGROUND

   I.      Florida’s Elected Officials Are Empowered To Set the Curriculum for
           Public Schools and To Stamp Out Discrimination in the Workplace.

        The People of Florida enshrined in their Constitution certain fundamental

principles that lie at the bedrock of our Nation and the State of Florida. Article I, § 2,

of the Florida Constitution enumerates these “Basic Rights”:

        All natural persons, female and male alike, are equal before the law and
        have inalienable rights, among which are the right to enjoy and defend
        life and liberty, to pursue happiness, to be rewarded for industry, and to
        acquire, possess and protect property. No person shall be deprived of
        any right because of race, religion, national origin, or physical
        disability.

And the People of Florida empowered their elected officials to enact laws that both

promote these fundamental principles and prohibit efforts to contravene them. See

FLA. CONST. Art. III, § 8(a), Art. IX § 1(a). To that end, the Florida Legislature

exercises the power to “establish education policy, enact education laws, and

appropriate and allocate education resources.” FLA. STAT. § 1000.03(2)(a).




                                            4
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 13 of 60




      Florida’s elected officials therefore determine the curriculum of Florida’s

public schools. Id. § 1000.01 et seq. (The “Florida Early Learning-20 Education

Code”). And the “priorities of Florida’s Early Learning-20 education system” seek

not only to promote student academic excellence, but also to prepare students “to

become civically engaged and knowledgeable adults who make positive

contributions to their communities.” Id. § 1000.03(5)(a)-(c).

      In furtherance of these priorities, the Florida public school curriculum requires

instruction on the fundamental principles that serve as a foundation for both Florida

and our Nation. For example, Florida’s elected officials have determined that

students should learn the “history and content of the Declaration of Independence,

including” the principle of “equality of all persons.” Id. § 1003.42(2)(a). Relatedly,

schools must provide development programs that teach K-12 students “the qualities

of,” among other things, “racial, ethnic, and religious tolerance.” Id.

§ 1003.42(2)(s)(1).

      Florida’s Education Code also authorizes the State Board of Education

(“Board”) to issue rules implementing these requirements. Specifically, the Board

may issue rules to ensure that schools are teaching the principles required by law

“efficiently and faithfully, using the books and materials required that meet the

highest standards for professionalism and historical accuracy.” Id. § 1003.42(2).

Pursuant to this authority, in June 2021, the Board issued a rule requiring that


                                          5
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 14 of 60




instruction on topics such as the Holocaust, slavery, the Civil War, the Civil Rights

Movement, and “the contributions of women, African American and Hispanic

people” to our Nation “be factual and objective, and may not suppress or distort

significant historical events.” FLA. ADMIN. CODE r. 6A-1.094124(3)(b). As

“[e]xamples of theories that distort historical events,” the Board listed theories that

“include the denial or minimization of the Holocaust, and the teaching of Critical

Race Theory, meaning the theory that racism is not merely the product of prejudice,

but that racism is embedded in American society and its legal systems in order to

uphold the supremacy of white persons.” Id. In particular, the Board determined that

schools “may not utilize material from the 1619 Project” and that instruction “must

include the U.S. Constitution, the Bill of Rights and subsequent amendments.” Id.

      Apart from the public-school curriculum, Florida’s elected officials have

recognized that the State must practice the principles it teaches. Therefore, Florida

law prohibits discrimination on the basis of race or sex “against a student or an

employee in the state system of public K-20 education.” FLA. STAT. § 1000.05(2)(a).

Likewise, no person may “be excluded from participation in, be denied the benefits

of, or be subjected to discrimination under any public K-20 education program or

activity” on the basis of race or sex. Id.

      Similarly, Florida’s elected officials have prohibited discrimination in the

workplace through the Florida Civil Rights Act of 1992. See id. § 760.01. This


                                             6
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 15 of 60




legislation was “modeled on Title VII” of the federal Civil Rights Act of 1964. Jones

v. United Space All., L.L.C., 494 F.3d 1306, 1310 (11th Cir. 2007). It thus prohibits

“employment practice[s]” that discriminate on the basis of race, sex, national origin,

and religion. FLA. STAT. § 760.10. Through these two significant pieces of

legislation—the Florida Early Learning-20 Education Code and the Florida Civil

Rights Act of 1992—Florida’s elected officials have taken steps not only to prohibit

practices that undermine the foundational principle of equality in the present, but

also to ensure this principle is carried forward by the next generation into the future.

   II.     Florida’s Individual Freedom Act.

         The Individual Freedom Act amended both the Florida Early Learning-20

Education Code and the 1992 Florida Civil Rights Act. It will take effect on July 1.

See 2022 Fla. Laws 72, § 8.

              A. The Act’s Education Provisions
         Sections 2 through 7 of the Act amended the Education Code. As relevant

here, Section 2 enumerates actions that constitute “discrimination on the basis of

race, color, national origin, or sex” against a public school student or employee and

are thus prohibited under Section 1000.05(2). The Act prohibits the practice of

“subject[ing] any student or employee to training or instruction that espouses,

promotes, advances, inculcates, or compels such student or employee to believe any

of the following concepts”:



                                           7
Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 16 of 60




  1.   Members of one race, color, national origin, or sex are morally
       superior to members of another race, color, national origin, or
       sex.

  2.   A person, by virtue of his or her race, color, national origin, or
       sex is inherently racist, sexist, or oppressive, whether
       consciously or unconsciously.
  3.   A person’s moral character or status as either privileged or
       oppressed is necessarily determined by his or her race, color,
       national origin, or sex.
  4.   Members of one race, color, national origin, or sex cannot and
       should not attempt to treat others without respect to race, color,
       national origin, or sex.
  5.   A person, by virtue of his or her race, color, national origin, or
       sex bears responsibility for, or should be discriminated against
       or receive adverse treatment because of, actions committed in the
       past by other members of the same race, color, national origin,
       or sex.

  6.   A person, by virtue of his or her race, color, national origin, or
       sex should be discriminated against or receive adverse treatment
       to achieve diversity, equity, or inclusion.
  7.   A person, by virtue of his or her race, color, sex, or national
       origin, bears personal responsibility for and must feel guilt,
       anguish, or other forms of psychological distress because of
       actions, in which the person played no part, committed in the past
       by other members of the same race, color, national origin, or sex.
  8.   Such virtues as merit, excellence, hard work, fairness, neutrality,
       objectivity, and racial colorblindness are racist or sexist, or were
       created by members of a particular race, color, national origin, or
       sex to oppress members of another race, color, national origin, or
       sex.




                                    8
   Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 17 of 60




FLA. STAT. § 1000.05(4)(A)(1)-(8) (as amended by the Act).1

      Although it prohibits all persons from subjecting a student or employee to

indoctrination of these concepts, the Act makes clear that it does not “prohibit

discussion of the concepts … as part of a larger course of training or instruction,

provided such training or instruction is given in an objective manner without

endorsement of the concepts.” Id. § 1000.05(4)(b).

      The Act also amended the Education Code’s required-instruction provisions.

Specifically, Section 3 provides that the “Legislature acknowledges the fundamental

truth that all persons are equal before the law and have inalienable rights.” Id.

§ 1003.42(3). “Accordingly,” the Act continues, “instruction and supporting

materials on the topics enumerated in this section must be consistent with the

following principles of individual freedom”:

      (a)   No person is inherently racist, sexist, or oppressive, whether
            consciously or unconsciously, solely by virtue of his or her race
            or sex.
      (b)   No race is inherently superior to another race.

      (c)   No person should be discriminated against or receive adverse
            treatment solely or partly on the basis of race, color, national
            origin, religion, disability, or sex.

      (d)   Meritocracy or traits such as a hard work ethic are not racist but
            fundamental to the right to pursue happiness and be rewarded for
            industry.


      1
        All subsequent statutory citations are of the provisions as amended by the
Act on July 1.

                                         9
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 18 of 60




      (e)    A person, by virtue of his or her race or sex, does not bear
             responsibility for actions committed in the past by other
             members of the same race or sex.

      (f)    A person should not be instructed that he or she must feel guilt,
             anguish, or other forms of psychological distress for actions, in
             which he or she played no part, committed in the past by other
             members of the same race or sex.

Id. § 1003.42(3).

      The Act prohibits the use of “classroom instruction and curriculum” to

“indoctrinate or persuade students to a particular point of view inconsistent with the

principles of this subsection.” Id. § 1003.42(3). Relatedly, Section 4 of the Act

ensures that neither the Department of Education nor school district personnel who

review instructional materials may recommend any instructional materials that

contradict the enumerated principles. See id. § 1006.31(2)(d). And similarly, the

Department of Education must ensure that the materials used in every Florida

school’s professional development system comply with the Act’s principles of

individual freedom. See id. § 1012.98(4)(b)(1).

      The Act also requires instruction on the evils of slavery, segregation, and

racial discrimination. For example, under the Act, Florida schools must teach the

“history of African Americans, including the history of African peoples before the

political conflicts that led to the development of slavery, the passage to America, the

enslavement experience,” and “abolition.” Id. § 1003.42(2)(h). More specifically,

the Act provides that students “shall develop an understanding of the ramifications


                                          10
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 19 of 60




of prejudice, racism, and stereotyping on individual freedoms,” including “how the

individual freedoms of persons have been infringed by slavery, racial oppression,

racial segregation, and racial discrimination.” Id. That instruction may include

“topics relating to the enactment and enforcement of laws resulting in racial

oppression, racial segregation, and racial discrimination.” Id.

      And schools must teach about individuals who overcame these evils to thrive.

For example, students must learn “the history and contributions of Americans of the

African diaspora to society.” Id. Accordingly, “[i]nstructional materials shall include

the vital contributions of African Americans to build and strengthen American

society and celebrate the inspirational stories of African Americans who prospered,

even in the most difficult circumstances.” Id.

      Relatedly, the Act requires instruction on how adherence to the principles of

individual freedom has helped “overturn[ ] unjust laws,” like those that imposed

racial segregation. Id. And the Act requires that students learn “what it means to be

a responsible and respectful person, for the purpose of encouraging tolerance of

diversity in a pluralistic society and for nurturing and protecting democratic values

and institutions.” Id. To that end, schools must teach about “the courageous steps”

taken by “individuals from all walks of life” to “fulfill the promise of democracy

and unite the nation.” Id.




                                          11
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 20 of 60




             B. The Act’s Employment Provisions
      Apart from its education provisions, the Act also amended Florida’s Civil

Rights Act. Section 1 of the Act enumerates several employment practices that

constitute “discrimination based on race, color, sex, or national origin” under FLA.

STAT. § 760.10(1). Specifically, the Act makes it unlawful for any employer to

“[s]ubject[ ] any individual, as a condition of employment, membership,

certification, licensing, credentialing, or passing an examination, to training,

instruction, or any other required activity that espouses, promotes, advances,

inculcates, or compels such individual to believe” concepts that are materially

identical to the concepts listed in Section 1000.05(4)(a). See FLA. STAT. § 760.10(8).

Section 1 makes clear, however, that it “may not be construed to prohibit discussion

of the concepts listed therein as part of a course of training or instruction, provided

such training or instruction is given in an objective manner without endorsement of

the concepts.” Id. § 760.10(1)(8)(b).

   III.   Plaintiffs Brought Suit Challenging the Act Under the First
          Amendment and Due Process Clause.

      Plaintiffs are three educators, a consultant, and a rising kindergartener.

Together, they argue that the Act and the June 2021 regulation violate their rights

under the First Amendment and the Due Process Clause.

      The three educators are Mr. Falls, who teaches American Government and

Economics at a Florida high school; Ms. Harper, who serves as a substitute teacher


                                          12
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 21 of 60




for multiple subjects and grade levels; and Dr. Cassanello, who is an associate

professor of history at the University of Central Florida. They contend that the Act

and regulation violate “their right to free expression” and “academic freedom” under

the First Amendment. Compl. ¶¶ 53.

      The lone student Plaintiff is RMJ, who “is enrolling in kindergarten at a

Nassau County Public School in August 2022.” Compl. ¶ 7. She challenges the same

educational provisions on the ground that they violate her right “to receive

information” under the First Amendment. Compl. ¶¶ 63-65

      Dr. Tammy Hodo is the president and founder of a consulting firm that

provides training to various organizations, including corporations, non-profits, and

educational institutions. Compl. ¶ 8. Her “areas of consulting include race &

ethnicity, implicit bias training, microaggressions, institutional racism, anti-racism

work, and critical race theory.” Id. She alleges that the employment provisions of

the Act restrict her own right to speak as an employer and have a negative effect on

“her business providing training to other employers as a diversity and inclusion

consultant” by restricting her clients’ right to speak. Id.

      Lastly, all Plaintiffs argue that the Act and the regulation are

unconstitutionally vague under the Fourteenth Amendment.

      Alongside their complaint, Plaintiffs filed a motion for a preliminary

injunction. Defendants now file this response.


                                           13
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 22 of 60




                             STANDARD OF REVIEW

         Under Rule 65 of the Federal Rules of Civil Procedure, a district court may

grant a preliminary injunction if the movant shows “(1) it has a substantial likelihood

of success on the merits; (2) irreparable injury will be suffered unless the injunction

issues; (3) the threatened injury to the movant outweighs whatever damage the

proposed injunction may cause the opposing party; and (4) if issued, the injunction

would not be adverse to the public interest.” Wreal, LLC v. Amazon.com, Inc., 840

F.3d 1244, 1247 (11th Cir. 2016) (cleaned up). The movant “bears the burden of

persuasion to clearly establish all four of these prerequisites.” Id. (cleaned up). Here,

Plaintiffs have failed to carry their burden on all four scores.

                                     ARGUMENT

   I.       Several of Plaintiffs’ Claims Are Non-Justiciable.

         Plaintiffs fail to show a likelihood of success at the threshold, because as

shown in Defendants’ motion to dismiss, filed contemporaneously with this brief,

all their claims fail for lack of standing.

   II.      The Act’s Educational Provisions and the Challenged Regulation Are
            Constitutional.

               A. Rules Governing Curriculum and In-Class Instruction in Public
                  Schools Regulate Pure Government Speech and Are Not Subject
                  to First Amendment Analysis.

         “When government speaks, it is not barred by the Free Speech Clause from

determining the content of what it says.” Walker, 576 U.S. at 207. “Were the Free


                                              14
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 23 of 60




Speech Clause interpreted otherwise, government would not work,” because it could

not “effectively” implement its policies if it “had to voice the perspective of those

who oppose” it. Id. at 207-08. Therefore, government speech—“and government

actions and programs that take the form of speech”—generally do not “trigger the

First Amendment rules designed to protect the marketplace of ideas.” Id. at 207. The

Constitution instead “relies first and foremost on the ballot box, not on rules against

viewpoint discrimination, to check the government when it speaks.” Shurtleff v. City

of Boston, 142 S. Ct. 1583, 1589 (2022).

      The public-school curriculum set by elected officials is government speech.

As the Supreme Court held in a case involving a public university: “When the

University determines the content of the education it provides, it is the University

speaking, and we have permitted the government to regulate the content of what is

or is not expressed when it is the speaker or when it enlists private entities to convey

its own message.” Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S. 819,

833 (1995). The same principle—that public schools do not violate the First

Amendment when setting their curriculum—explains why schools may even control

student speech in a school-sponsored student newspaper that could “fairly be

characterized as part of the school curriculum,” and thus “bear the imprimatur of the

school.” Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 271 (1988). When the

government “determines the content of the education it provides” in public schools,


                                          15
      Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 24 of 60




it is thus the government speaking, Rosenberger, 515 U.S. at 833, and its

determination does not implicate the Free Speech Clause, Walker, 576 U.S. at 207-

08.

        The in-class instruction offered by state-employed educators is also pure

government speech, not the speech of the educators themselves. When “public

employees make statements pursuant to their official duties, the employees are not

speaking as citizens for First Amendment purposes.” Garcetti v. Ceballos, 547 U.S.

410, 421-22 (2006). And “[r]estricting speech that owes its existence to a public

employee’s professional responsibilities does not infringe any liberties the employee

might have enjoyed as a private citizen.” Id. at 421-22. Therefore, “the employee

has no First Amendment cause of action.” Id. at 418. Accordingly, under the square

reasoning of Garcetti, educators in public schools do not have a First Amendment

right to control the curriculum.

        To be sure, Garcetti reserved the question whether its holding applies to

classroom instruction. Id. at 425. But this Court is bound by Garcetti’s reasoning in

equal measure with its holding, Seminole Tribe of Fla. v. Florida., 517 U.S. 44, 67

(1996), and public-school teachers or professors providing instruction to students

clearly fall within the rationale of Garcetti because they are making “statements

pursuant to their official duties.” Garcetti, 547 U.S. at 421-22. Moreover, if Garcetti

did not apply to curricular speech, it would invite “judicial intervention” that is


                                          16
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 25 of 60




“inconsistent with sound principles of federalism,” id. at 423, because the Supreme

Court has articulated the “oft-expressed view that the education of the Nation’s

youth is primarily the responsibility of parents, teachers, and state and local school

officials, and not of federal judges.” Kuhlmeier, 484 U.S. at 273.

       Multiple courts have recognized that Garcetti’s reasoning applies to public-

school teachers providing instruction. The Seventh Circuit explained that, because

“teachers hire out their own speech,” applying Garcetti to a public-school teacher’s

in-class speech was “an easier case for the employer than Garcetti” itself, “where

speech was not what the employee was being paid to create.” Mayer v. Monroe Cnty.

Cmty. Sch. Corp., 474 F.3d 477, 479 (7th Cir. 2007) (Easterbrook, J., for the court)

(emphasis added). For similar reasons, the Sixth Circuit has likewise applied

Garcetti to in-class instruction in a public high school. See Evans-Marshall v. Bd. of

Educ. of Tipp City Exempted Vill. Sch. Dist., 624 F.3d 332 (6th Cir. 2010) (Sutton,

J., for the court).

       Both the Sixth and Seventh Circuits recognized the difficulty the Supreme

Court envisioned if the First Amendment were to apply to government speech—

“government would not work.” Walker, 576 U.S. at 207-08. The Sixth Circuit

identified numerous challenging questions that would follow if Garcetti did not

apply to teachers’ in-class curricular speech. As most relevant here: “Could a teacher

continue to assign materials that members of the community perceive as racially


                                         17
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 26 of 60




insensitive even after the principal tells her not to?”; or “Could a teacher raise a

controversial topic (say, the virtues of one theory of government over another or the

virtues of intelligent design) after a principal has told her not to?” Evans-Marshall,

624 F.3d at 341-42.

      The application of Garcetti aligns with other Circuits’ determination that

curricular speech is not subject to First Amendment scrutiny. For example, in an

opinion by then-Judge Alito, the Third Circuit held that “a public university

professor does not have a First Amendment right to decide what will be taught in the

classroom.” Edwards v. Calif. Univ. of Penn., 156 F.3d 488, 491 (3d Cir. 1998).

Similarly, the Fourth Circuit has held that “speech” that “is curricular in nature” is

unprotected because it is not on “a matter of public concern” within the meaning of

the balancing test established by Pickering v. Board of Education of Township High

School Dist. 205, Will County, 391 U.S. 563 (1968). Lee v. York Cnty. Sch. Div., 484

F.3d 687, 697 (4th Cir. 2007). So too the Fifth Circuit has held “that public school

teachers are not free, under the first amendment, to arrogate control of curricula”

because they do “not speak out as a citizen” when teaching in class. Kirkland v.

Northside Indep. Sch. Dist., 890 F.2d 794, 800-02 (5th Cir. 1989). And although the

Eleventh Circuit has not yet addressed in a binding decision whether Garcetti applies

to a teacher’s in-class curricular speech, in an unpublished opinion it applied

Garcetti to a high school teacher’s speech that was made pursuant to her official


                                         18
     Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 27 of 60




duties as a cheerleading team sponsor. See Gilder-Lucas v. Elmore Cnty. Bd. of

Educ., 186 F. App’x 885, 886-87 (11th Cir. 2006).

       The Eleventh Circuit’s pre-Garcetti decision in Bishop v. Aronov, 926 F.2d

1066 (11th Cir. 1991), also supports the application of Garcetti to speech related to

the “content in the courses” taught. In Bishop, the Court held that a public

university’s decision to prohibit a professor from speaking about his religious beliefs

“during instructional time” did not violate that professor’s free speech rights. Id. at

1076-77. The Court spoke in no uncertain terms: The government’s “conclusions

about course content must be allowed to hold sway over an individual professor’s

judgments.” Id. at 1077. When the government (there, the university) and an

individual educator “disagree about a matter of content in the courses he teaches,”

the Court explained, the government “must have the final say in such a dispute.” Id.

at 1076-77. The government, “as an employer and educator can direct” an individual

professor “to refrain from expression” of particular views “in the classroom,” and

federal judges cannot second-guess the government’s determination by acting as

“ersatz deans or educators.” Id. at 1075, 1077.

       Drawing from the Supreme Court’s decision in Kuhlmeier—then the leading

case on the subject—the Eleventh Circuit concluded that the appropriate analysis

was limited to determining whether the State’s restrictions “are reasonably related

to   legitimate   pedagogical    concerns,”    id.   at   1074—a    standard   largely


                                          19
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 28 of 60




indistinguishable from “rational basis” review, the form of scrutiny that would apply

in the absence of any First Amendment (or other fundamental) right, under “the

separate constitutional prohibitions on irrational laws,” District of Columbia v.

Heller, 554 U.S. 570, 628 n.27 (2008). And Bishop makes clear that the

government’s “interests in the classroom conduct of its professors” are per se a

legitimate pedagogical concern. 926 F.2d at 1076.

      Both Bishop’s reasoning and holding are thus consistent with the conclusion

that obviously follows from the Supreme Court’s later cases in Rosenberger and

Garcetti: Where, as here, a State prescribes or restricts the curricular instruction

taught in its schools and the in-class conduct of its educators, nothing but

government speech is in play, and the First Amendment has no application. Although

Bishop did not hold that the First Amendment categorically does not apply in this

context under the government speech doctrine, the Supreme Court had not yet

announced that doctrine. The Bishop Court candidly admitted that it was doing its

best to “frame” its “own analysis to determine the sufficiency of the University’s

interests in restricting” the professor’s “expression in the classroom,” in the absence

of any “controlling” “cases satisfactorily on point.” Id. at 1074. But thirty years later,

in the more penetrating light shed by the Supreme Court’s intervening decisions in

Rosenberger and Garcetti, the best reading of Bishop is plainly the one that accords




                                           20
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 29 of 60




with the teachings of those cases: The First Amendment simply has no purchase

here.

        Many of Plaintiffs’ post-Garcetti cases are not to the contrary. See Pls.’ Mot.

for Prelim. Inj. And Mem. of Law 24, Doc. 4 (Apr. 22, 2022) (“Pls.’ Br.”). In Adams

v. Trustees of University of N.C.-Wilmington, 640 F.3d 550, 563-64 (4th Cir. 2011),

the professor’s speech at issue “was unrelated to any of [his] assigned teaching duties

at” the university; and Adams is a decision of the Fourth Circuit, which (as noted

above) holds that curricular speech is unprotected. Lee, 484 F.3d at 697. And in

Buchanan v. Alexander, 919 F.3d 847, 853 (5th Cir. 2019), the court concluded that

a professor’s in-class “use of profanity and discussion of her sex life” was not

protected because it did “not serve an academic purpose” and thus was “not of public

concern”; and Buchanan is a decision of the Fifth Circuit, which (also noted above)

holds that teachers’ in-class speech is unprotected. Kirkland, 890 F.2d at 800-02.

        True, decisions in the Ninth Circuit and Sixth Circuit have distinguished

between curricular speech at the college and K-12 levels, holding that Pickering, and

not Garcetti, governs the regulation of such speech in university classrooms. See

Pls.’ Br. 23-24 (citing Demers v. Austin, 746 F.3d 402, 418 (9th Cir. 2014) and

Meriweather v. Hartop, 992 F.3d 492 (6th Cir. 2021)). But those decisions are

inconsistent with Bishop and the reasoning of Garcetti and Rosenberger. Moreover,

they are limited to educators at the university level and lend no support to applying


                                          21
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 30 of 60




Pickering to the curricular speech of K-12 teachers. See, e.g., Meriweather, 992 F.3d

at 505 n.1.

      Additionally, the Act applies solely to “training or instruction.” FLA. STAT.

§ 1000.05(4)(a). It therefore does not implicate educators’ published scholarship.

Nor does it broadly regulate anything that “relates to” educators’ “expertise,” Austin

v. University of Florida Board of Trustees, No. 1:21-cv-184-MW/GRJ, 2022 WL

195612, at *15 (N.D. Fla. Jan. 21, 2022), or their membership in private

organizations.

      In sum, the speech that the Individual Freedom Act’s education provisions

regulate—the content of the curriculum used in public schools and the in-class

instruction that occurs there—constitutes pure government speech that does not

implicate Plaintiffs’ Free Speech rights.

              B. Individual Teachers Do Not Have the “Academic Freedom” To
                 Control Florida’s Public School Curriculum.
      Even if the First Amendment applied in this context, and it does not, it would

not give the three educator Plaintiffs a First Amendment right to violate the Act and

override the curriculum adopted by Florida’s elected officials. These Plaintiffs assert

a right of “academic freedom” that, they say, is grounded in a trilogy of Supreme

Court cases from the Cold War era. See Pls.’ Br. 19-21 (citing Wieman v. Updegraff,

344 U.S. 183 (1952); Sweezy v. New Hampshire, 354 U.S. 234 (1957); and Keyishian

v. Bd. of Regents of Univ. of State of N.Y., 385 U.S. 589 (1967)).


                                            22
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 31 of 60




      Plaintiffs’ argument is foreclosed by Eleventh Circuit precedent. In Bishop,

the Eleventh Circuit was clear: “Though we are mindful of the invaluable role

academic freedom plays in our public schools, particularly at the post-secondary

level, we do not find support to conclude that academic freedom is an independent

First Amendment right.” 926 F.2d at 1075. Bishop acknowledged “abundant cases”

that “acclaim academic freedom,” including Keyishian. Id. at 1075. But it held that

the “pronouncements about academic freedom” in the “context” of those cases

“cannot be extrapolated to deny schools command of their own courses.” Id. Under

Bishop, Plaintiffs have no individual right to academic freedom.

      Plaintiffs’ attempt to avoid Bishop on this point is unpersuasive. They focus

on a sentence in the concluding paragraph of the opinion where the Court stated that,

“balanced against the interests of academic freedom,” the government “cannot

proscribe” the professor’s “conduct to an extent any greater than we have indicated

by our opinion.” Id. at 1078. The problem for Plaintiffs, however, is that the “extent”

to which the Court indicated the government could proscribe the professor’s speech

was everything the professor said and did “with respect to classroom conduct issued

under its authority to control curriculum.” Id. That type of restriction, the Court

explained in the same paragraph, does “not infringe the free speech” rights of

professors. Id. And that type of restriction is the precise restriction at issue here.




                                           23
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 32 of 60




      Even if Bishop had not settled this issue, the conclusion that in-class curricular

speech can be regulated by the State is obviously correct. As the en banc Fourth

Circuit explained in its exhaustive analysis of the right to academic freedom, that

right, to the extent it exists, belongs to academic institutions—specifically

universities—and does not belong to individual educators. See Urofsky v. Gilmore,

216 F.3d 401, 410-14 (4th Cir. 2000) (en banc). Indeed, Justice Frankfurter’s classic

statement on academic freedom makes clear that it is comprised of “‘the four

essential freedoms of a university—to determine for itself on academic grounds who

may teach, what may be taught, how it shall be taught, and who may be admitted to

study.’” Sweezy, 354 U.S. at 263 (Frankfurter, J., concurring) (citation omitted).

Other courts agree that any purported right to academic freedom is held by

universities as an institution. As then-Judge Alito explained, “academic freedom

ha[s] been described” only “as a university’s freedom.” Edwards, 156 F.3d at 492

(emphasis added); see also Johnson-Kurek v. Abu-Absi, 423 F.3d 590, 593 (6th Cir.

2005) (same). And how could it be otherwise? The notion that individual professors

have a constitutional right to make their own decisions, free from interference by

anyone, whether university administrators or the State itself, concerning what may

be taught and how it shall be taught would be a recipe for educational chaos, not

excellence. Again, when the university and an individual educator “disagree about a




                                          24
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 33 of 60




matter of content in the courses he teaches,” the university “must have the final say

in such a dispute.” Bishop, 926 F.2d at 1076-77.

      Moreover, to whatever extent public universities possess an institutional right

of academic freedom, that right is best understood as a right of institutional

autonomy from the judiciary, not the State that chartered it, governs it, and provides

its funding. See, e.g., Regents of the Univ. of Mich. v. Ewing, 474 U.S. 214, 226

(1985) (citing Keyishian as representing the Court’s “reluctance to trench on the

prerogatives of state and local educational institutions”). Indeed, it is unclear “how

the Universities, as subordinate organs of the State,” could “have First Amendment

rights against the State or its voters.” Coal. to Def. Affirmative Action v. Granholm,

473 F.3d 237, 247 (6th Cir. 2006). Plaintiffs have not cited a single case holding that

a public university or K-12 school possesses a right to academic freedom that

permits the institution to reject and override the State’s education curriculum. And

even if there were such an institutional right to academic freedom from democratic

accountability, it is held only by universities, not K-12 schools. See Parents Involved

in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 724 (2007) (noting

“considerations unique to institutions of higher education”).

      In sum, under Bishop, the educator-plaintiffs have no constitutional right of

academic freedom to override curriculum policies adopted by democratically elected

lawmakers.


                                          25
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 34 of 60




             C. Public School Students Do Not Have a First Amendment Right
                To Dictate Their Own Curriculum.

      The claim by the student plaintiff, RMJ, that the Act violates her First

Amendment right to “access information” also fails. Again, the Act regulates the

public-school curriculum, which is pure government speech that does not implicate

any purported right “to access information.” See supra, at 15-22.

      RMJ relies on three cases. Pls.’ Br. 35-37. None of them supports her claim.

In Board of Education, Island Trees Union Free Sch. Dist. No. 26 v. Pico, 457 U.S.

853, 872 (1982) (plurality opinion), four Justices stated that a local school board’s

decision to remove books from the school library was subject to some form of First

Amendment scrutiny. But given the fracturing of the Court on both votes and

rationale, the Eleventh Circuit has already held that Pico “is a non-decision so far as

precedent is concerned” and “establishes no standard.” ACLU of Fla., Inc. v. Miami-

Dade Cnty. Sch. Bd., 557 F.3d 1177, 1200 (11th Cir. 2009). Moreover, the Pico

plurality “carefully circumscribed th[e] potential right, acknowledging that the case

‘does not involve textbooks’ and that the Court’s conclusion ‘does not intrude into

the classroom, or into the compulsory courses taught there.’ ” Chiras v. Miller, 432

F.3d 606, 619 (5th Cir. 2005) (quoting Pico, 457 U.S. at 862). Thus, Pico has no

precedential value, and the decision itself expressly did not reach the regulation of a

school’s curriculum.




                                          26
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 35 of 60




      ACLU v. Miami-Dade also involved a school board’s decision to remove a

book from the school library. See 557 F.3d at 1200. And the Court expressly

distinguished the facts there from the situation here, noting that “the speech at issue

d[id] not form part of a course of study in a school’s curriculum,” a context that

would likely require a different standard. See id. Instead, it was “a school library

book case.” Id. Ultimately, the Court held that, even assuming Pico applied, the

challengers still lost. See id. at 1202. That decision lends no support to RMJ’s

attempt to override the public-school curriculum policies set by democratically

accountable officials.

      That leaves Virgil v. School Board of Columbia County, Florida, which

involved a school board’s decision to “remov[e] a previously approved textbook.”

862 F.2d 1517, 1518 (11th Cir. 1989). As in Bishop, Virgil was decided before the

Court issued its key government speech precedents in Rosenberger and Garcetti.

The Virgil opinion noted that courts had thus far “failed to achieve a consensus on

the degree of discretion to be accorded school boards to restrict access to curricular

materials.” Id. at 1520-21. And as in Bishop, “the most direct guidance from the

Supreme Court” at that time regarding the application of the First Amendment to the

content of a public school’s curriculum was Kuhlmeier. Id. at 1521. Therefore, the

Court applied the Kuhlmeier standard and held that the board could remove the

textbook from the curriculum without violating the First Amendment if its actions


                                          27
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 36 of 60




were “reasonably related to legitimate pedagogical concerns.” Id. at 1518, 1520-22

(cleaned up).

      In any event, Virgil, like Bishop, must now be read in light of the Supreme

Court’s subsequent decisions in cases like Rosenberger and Walker. See Chiras, 432

F.3d at 617 (noting Virgil “did not have the benefit of” the Supreme Court’s recent

government-speech cases). In the light shed by those cases, Virgil cannot be read as

requiring any sort of heightened First Amendment scrutiny in this context.

             D. The Act’s Educational Provisions Satisfy Any Standard of
                Heightened Constitutional Scrutiny.
             1.    The Education Provisions Are Narrowly Tailored To Serve
                   A Compelling Government Interest.
      Even if the Court reads the Eleventh Circuit’s pre-Garcetti decisions in Bishop

and Virgil as adopting a level of scrutiny marginally more stringent than rational

basis review, that standard still requires, at most, that the Act’s provisions be

“reasonably related to legitimate pedagogical concerns.” Kuhlmeier, 484 U.S. at

272-73; see Bishop, 926 F.2d at 1074; Virgil, 862 F.2d at 1521-23. The educational

provisions here easily pass muster under this “deferential standard.” Virgil, 862 F.2d

at 1520. As the Ninth Circuit held, educational statutes that, among other things,

prohibit teaching classes that “[p]romote resentment toward a race or class of

people” or “[a]dvocate ethnic solidarity instead of the treatment of pupils as

individuals” are “reasonably related to the state’s legitimate pedagogical interest in



                                         28
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 37 of 60




reducing racism.” Arce v. Douglas, 793 F.3d 968, 973, 985-86 (9th Cir. 2015)

(cleaned up).

      If the Court concludes that Bishop and Virgil’s “reasonably related” standard

does not apply, then it should apply the Pickering balancing test because the speech

at issue involves government employees. Under that test, the court must balance the

employee’s interest against the State’s interest, as employer, in promoting the

efficiency of its programs. Lane v. Franks, 573 U.S. 228, 236 (2014).2

      Here, recognizing a right of public educators to violate the State’s public-

school curriculum policies would unquestionably “imped[e] the teacher’s proper

performance of his daily duties in the classroom.” Pickering, 391 U.S. at 572-73.

Indeed, it would subvert the teacher’s classroom duties. Plaintiffs’ argument would

require Florida’s education administrators to stand idly by as a teacher espouses

white supremacy, antisemitism, Holocaust denial, male superiority, or critical race

theory at the head of a public-school classroom. The State’s interest in providing its


      2
        Plaintiffs suggest that the State bears a higher burden under United States v.
National Treasury Employees Union, 513 U.S. 454 (1995). Pls.’ Br. 25. But that case
applied a different standard only “[b]ecause the vast majority of the speech at issue”
did “not involve the subject matter of Government employment and takes place
outside the workplace.” 513 U.S. at 470; see also id. at 465 (“With few exceptions,
the content of [the employees’] messages has nothing to do with their jobs.”
(emphasis added)). Therefore, to the extent NTEU imposes a higher burden on the
government, it also requires a higher burden from Plaintiffs: a showing that the
regulated speech occurs outside the workplace and has essentially no relevance to
their employment. Because the speech restrictions here govern only their
employment-related, in-school speech, NTEU does not apply.

                                         29
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 38 of 60




legislatively defined education to students vastly outweighs that individual interest

under Pickering.

      In all events, the provisions here pass muster even under strict scrutiny. The

compelling nature of the government’s interest in stamping out racial discrimination

is so fundamental that it is embodied in our highest law. See Brown, 349 U.S. at 294

(noting the “fundamental principle that racial discrimination in public education is

unconstitutional”). Thus, public schools are constitutionally prohibited from

teaching, for example, that one “race is inherently superior to another race,” or that

a person should be “discriminated against” “on the basis of race.” See FLA. STAT.

§ 1003.42(3). The same is true of discrimination on the basis of sex, religion, and

national origin.

      The Act’s educational provisions are “narrowly drawn to accomplish those

ends.” Solantic, LLC v. City of Neptune Beach, 410 F.3d 1250, 1267 (11th Cir.

2005). As an initial matter, by its own terms, the Act does not “prohibit discussion

of the concepts” listed in Section 1000.05(4)(b). It merely requires that those

concepts be taught “as part of a larger course of training or instruction” and “in an

objective manner without endorsement.” Id. The Act only prohibits teaching that

“espouses, promotes, advances, inculcates, or compels” students or employees to

believe the concepts. Id. And even within the concepts themselves, the provisions

are narrowly drawn—for example, prohibiting instruction that a person is


                                         30
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 39 of 60




“inherently” racist “solely” by virtue of his or her race or sex, meaning that a

person’s race is the only and entire explanation for his or her racism.

             2.    Plaintiffs’ Contrary Arguments Fail.
      Plaintiffs’ primary argument is that the educational provisions cast a “pall of

orthodoxy” over the classroom, citing the Supreme Court’s 1967 decision in

Keyishian. But the Eleventh Circuit in Bishop declined to extrapolate such a broad

principle from cases like Keyishian. The court noted that “Keyishian dealt with that

brand of regulation most offensive to a free society: loyalty oaths.” Bishop, 926 F.2d

at 1075. But the “Court’s pronouncements about academic freedom in that context,”

Bishop continued, “cannot be extrapolated to deny schools command of their own

courses.” Id. Thus, there is no freestanding “pall of orthodoxy” standard for judicial

scrutiny of a public school’s curriculum.

      Next, Plaintiffs rely extensively on lawmakers’ public statements. Pls.’ Br.

Ex. 1-2. But the Eleventh Circuit has “held—‘many times’—that ‘when a statute is

facially constitutional, a plaintiff cannot bring a free-speech challenge by claiming

that the lawmakers who passed it acted with a constitutionally impermissible

purpose.’ ” NetChoice, LLC v. Moody, No. 21-12355, 2022 WL 1613291, at *19, __

F.4th __, __ (11th Cir. May 23, 2022) (quoting In re Hubbard, 803 F.3d 1298, 1312

(11th Cir. 2015)). The principle of In re Hubbard is derived from the longstanding

historical doctrine of “legislative privilege.” In re Hubbard, 803 F.3d at 1307-08,



                                         31
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 40 of 60




1311-12. Nor is ACLU v. Miami-Dade, Pls’ Br. 35-36, to the contrary because that

case (decided before In re Hubbard) involved the action of a school board, which

does not hold legislative privilege. Therefore, the only question here is whether the

text of the challenged provisions are constitutional; the statements of Governor

DeSantis or Florida legislators are irrelevant to Plaintiffs’ free speech challenges.

      Plaintiffs are also wrong to suggest that they prevail if the Act regulates based

on viewpoint. Even if the Act were viewpoint-based, it does not change the analysis,

since as Bishop makes clear, the State “must be allowed” to determine the

“viewpoints” that are taught “in the classroom.” Bishop, 926 F.2d at 1077 (emphasis

added); see also Shurtleff, 142 S. Ct. at 1589 (For “government speech,” the

government may regulate “based on viewpoint.”). Much curricular speech mandated

by state education authorities is, after all, inherently viewpoint based. And in all

events, even viewpoint-based regulation is at most subject to strict scrutiny, see

R.A.V. v. City of St. Paul, Minn., 505 U.S. 377, 395-96 (1992)—which the Act

survives, see Part II.D.

      In addition, Plaintiffs assert that the provisions are unconstitutional because

there is no empirical evidence that the conduct prohibited by the Act is actually

occurring in schools. See Pls.’ Br. 42 (relying on Wollschlaeger v. Gov., Fla., 848

F.3d 1293, 1319 (11th Cir. 2017) (en banc)). But Plaintiffs misunderstand

Wollschlaeger, which involved a means-ends assessment of whether the challenged


                                          32
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 41 of 60




regulation on speech—rules preventing medical professionals from asking certain

questions and gathering certain information about their patients’ firearms

ownership—“directly advance[d]” the State’s proffered interest in protecting

Second Amendment rights. 848 F.3d at 1312 (cleaned up). In that context, which is

outside of the context of government speech, the State must come forward with a

“quantum of empirical evidence” that varies depending on “the novelty and

plausibility” of its theory that there is actually a sufficient “fit between the

legislature’s ends and the means chosen to accomplish those ends.” Id. (cleaned up).

      Here, by contrast, Defendants do not seek to justify the Act’s speech

restrictions as furthering some end other than eliminating the speech at issue; the

Act’s justification is that the restricted speech itself is pernicious and has no place

in Florida public schools. It makes no sense in this context to ask for empirical

evidence that the means chosen will advance the government’s end; the “end” is the

elimination of the speech that the “means” proscribes. The Constitution would

permit Florida to prohibit teachers from using racial slurs to address students of one

race without having to wait until teachers actually begin doing so, and it permits

Florida to prohibit the equally offensive speech at issue here in equal measure.

      In any event, the examples that Plaintiffs themselves put forward as the

motivation provide ample justification for the Act. One example involved named

Plaintiff Dr. Hodo, who had been hired as a consultant by a public school in


                                          33
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 42 of 60




Jacksonville. See Decl. of John D. Ohlendorf, Ex. 1 (June 1, 2022). The school

informed parents that, in response to “cultural issues that have arisen” at the school,

Dr. Hodo would be hosting two meetings with students—one for “students of color”

and one for “white students.” Id. This deliberate racial segregation of a public

school’s students was prevented only because parents complained. See Ohlendorf

Decl., Ex. 2. The Florida Legislature did not need to tolerate more than one

attempted violation of Brown v. Board before determining that the Act was

necessary. And as Plaintiffs concede, the State had other examples as well. Pls.’ Br.

32-33. These publicly reported, highly controversial, factually undisputed stories

were much more than the “anecdotes” at issue in Wollschlaeger—which involved,

for example, a story that a state representative’s daughter told him about a pediatric

appointment. 848 F.3d at 1302.

   III.   The Act’s Employment Provisions Are Constitutional.
             A. The Employment Provisions of the Act Govern Conduct, Not
                Speech.
      Plaintiffs’ First Amendment challenge to the employment provisions fails at

the outset because these provisions do not regulate speech at all. Rather, the

employment provisions regulate pure conduct: an employer’s non-expressive,

commercial action of imposing “a condition of employment” that requires its

employees to attend certain instruction or training activities. Accordingly, the Act

regulates conduct, not speech, and the First Amendment simply does not apply.


                                          34
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 43 of 60




       While drawing the line between speech and conduct may at times be difficult,

the Supreme Court’s precedents “have long drawn it, and the line is long familiar to

the bar.” Nat’l Inst. of Family & Life Advocates v. Becerra, 138 S. Ct. 2361, 2373

(2018) (cleaned up). “[R]estrictions on protected expression are distinct from

restrictions on economic activity,” and “the First Amendment does not prevent” the

latter. Sorrell v. IMS Health Inc., 564 U.S. 552, 567 (2011). As the Eleventh Circuit

has explained, “laws that target real-world commercial activity need not fear First

Amendment scrutiny. Such run-of-the-mill economic regulations will continue to be

assessed under rational-basis review.” Dana’s R.R. Supply v. Att’y Gen. of Fla., 807

F.3d 1235, 1251 (11th Cir. 2015).

      It is evident that the Act’s provisions regulating Florida employees lie safely

on the “conduct” side of this speech-conduct divide. Yes, speech occurs at

workplace “training” and “instruction” events that inculcate the propositions, for

example, that members of one race “are morally superior to members of another,”

or that members of one race “should be discriminated against or receive adverse

treatment to achieve diversity, equity, or inclusion.” FLA. STAT. § 760.10(8)(a). But

the Act does not restrict that speech in the slightest. Employers remain free to

arrange, sponsor, and pay for training events advocating these propositions (subject

to any other relevant principles of federal or state anti-discrimination law not

challenged here); consultants like Dr. Hodo remain free to espouse these ideas and


                                         35
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 44 of 60




to collect fees for doing so; employees remain free to attend such training events.

The only thing that the Individual Freedom Act prohibits is this: an employer may

not make attendance at training events or sessions like these a mandatory “condition

of employment.” Id. Imposing such a condition is pure conduct, and the First

Amendment has nothing to say about it.

      The Act’s employment provisions thus do not impose even an incidental

burden on speech. Everything that could be said on the topic of race, color, sex, or

national origin before the Act goes into effect can also be said after—without any

restraint, and in exactly the same way. But even if the Act’s limits—preventing

employers from conscripting their workers into the audience at these events—did

somehow incidentally burden the speech that is uttered there, heightened

constitutional scrutiny would still not apply. For “the First Amendment does not

prevent restrictions directed at commerce or conduct from imposing incidental

burdens on speech.” Sorrell, 564 U.S. at 567. After all, “it has never been deemed

an abridgment of freedom of speech or press to make a course of conduct illegal

merely because the conduct was in part initiated, evidenced, or carried out by means

of language, either spoken, written, or printed.” Rumsfeld v. FAIR, Inc., 547 U.S. 47,

62 (2006) (cleaned up). A legislature, for example, can prohibit racial discrimination

in hiring without violating the First Amendment, even though such a prohibition

would require an employer to take down a sign reading “White Applicants Only.”


                                         36
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 45 of 60




Id. at 63. And here, the Individual Freedom Act does not even impose that much of

a burden on speech. Rather, the Act’s employment provisions are akin not to a

prohibition on a “White Applicants Only” sign, but rather to a prohibition on an

employer’s practice of forcing all employees to look at it.

      The Eleventh Circuit’s en banc decision in Wollschlaeger, confirms that the

Act’s employment provisions do not implicate the First Amendment. That case held

that a Florida law prohibiting doctors from discriminating against patients for

owning firearms did not implicate the First Amendment because it could be

construed “to apply to non-expressive conduct such as failing to return messages,

charging more for the same services, declining reasonable appointment times, not

providing test results on a timely basis, or delaying treatment because a patient …

owns firearms.” 848 F.3d at 1317. Here, a savings construction is unnecessary: the

Act’s employment provisions, by their plain terms, apply only to the non-expressive

conduct of requiring employees, as a condition of employment, to attend training

sessions where the kind of speech identified by the Act occurs.

       The Supreme Court’s decision in FAIR is to the same effect. FAIR concerned

the constitutionality of the Solomon Amendment, which required law schools to

provide military recruiters equal access to students as any other recruiter. The Court

concluded that the Solomon Amendment regulated conduct, not speech: “It affects

what law schools must do—afford equal access to military recruiters—not what they


                                         37
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 46 of 60




may or may not say.” 547 U.S. 47 at 60. Further, any speech that was affected by the

Amendment—such as “send[ing] e-mails or post[ing] notices on behalf of the

military”—was “plainly incidental to the Solomon Amendment’s regulation of

conduct.” Id. at 62. And “it has never been deemed an abridgment of freedom of

speech or press to make a course of conduct illegal merely because the conduct was

in part initiated, evidenced, or carried out by means of language, either spoken,

written, or printed.” Id.

      So too here. Just as the Solomon Amendment “affect[ed] what law schools

must do,” id. at 60, the Act’s employment provisions solely affect the conduct of

employers: mandating attendance at training or educational sessions espousing the

discriminatory principles at issue, on pain of losing your job. And just as “[l]aw

schools remain free under the statute to express whatever views they may have on

the military’s congressionally mandated employment policy,” id., employers,

employees, and consultants like Dr. Hodo remain free under Florida’s Act to express

whatever views they may have pertaining to matters of race, color, sex, religion, or

national origin. The only thing employers may not do is require, on pain of sanction,

their employees to listen to those views if they do not wish to.




                                         38
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 47 of 60




             B. In Any Event, the Employment Provisions Also Survive
                Heightened Scrutiny.

             1.    Under the Captive Audience Doctrine, at Most Intermediate
                   Scrutiny Applies.

      Even if the Act’s employment provisions regulate speech, which they do not,

they serve the “substantial and justifiable” interest of preventing employers from

conscripting a “captive audience” for that speech, made up of employees “who are

presumptively unwilling to receive it.” Frisby v. Schultz, 487 U.S. 474, 488 (1988)

(cleaned up). Whether or not the First Amendment prevents Florida from keeping

employers in the State from uttering such speech, “the protection afforded to

offensive messages does not always embrace offensive speech that is so intrusive

that the unwilling audience cannot avoid it.” Hill v. Colorado, 530 U.S. 703, 716

(2000).

      The Supreme Court has repeatedly recognized that “[t]he First Amendment

permits the government to prohibit offensive speech as intrusive when the ‘captive’

audience cannot avoid the objectionable speech.” Frisby, 487 U.S. at 488 (cleaned

up). Because “the right of every person ‘to be let alone’ must be placed in the scales

with the right of others to communicate,” Rowan v. United States Post Off. Dep’t,

397 U.S. 728, 736 (1970), the State has the power to protect “[t]he unwilling

listener’s interest in avoiding unwanted communication,” Hill, 530 U.S. at 716.

Although the authority to protect “captive audiences” is of course most acute in the



                                         39
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 48 of 60




home and its immediate environs,” Frisby, 487 U.S. at 485, the Government may

protect unwilling listeners outside the home, in those situations where “the degree

of captivity makes it impractical for the unwilling viewer or auditor to avoid

exposure,” Erznoznik v. City of Jacksonville, 422 U.S. 205, 209 (1975).

      In Lehman v. City of Shaker Heights, for example, the Court upheld a city’s

rule barring the display of political advertising in its mass-transit vehicles. 418 U.S.

298, 299 (1974) (plurality). Though no single opinion commanded a majority, both

the plurality opinion ruling for the City and Justice Douglas’s concurrence

emphasized the captive nature of commuters and their right to avoid unwanted

speech. The City’s rule, the plurality concluded, was designed to minimize “the risk

of imposing upon a captive audience.” Id. at 304. And Justice Douglas reasoned that,

while a speaker “has a right to express his views to those who wish to listen, he has

no right to force his message upon an audience incapable of declining to receive it.”

Id. at 307 (Douglas, J., concurring). Subsequent cases have thus read Lehman as

standing for the proposition that the government “may protect its citizens against

unwilling exposure to materials that may be offensive” in those situations where “the

degree of captivity makes it impractical for the unwilling viewer or auditor to avoid

exposure.” Erznoznik, 422 U.S. at 208–09.

      Later Supreme Court decisions are in accord. In Bethel School District No.

403 v. Fraser, for example, the Court upheld the School District’s decision to


                                          40
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 49 of 60




discipline a student for a lewd speech he gave during an assembly in part based on

the authority of the school (and, hence, the State) “to protect children—especially in

a captive audience—from exposure to sexually explicit, indecent, or lewd speech.”

478 U.S. 675, 684 (1986). Similarly, in Hill v. Colorado, the Court upheld state

restrictions on “speech-related conduct within 100 feet of [an abortion clinic]” based

partly on “the interests of unwilling listeners in situations where the degree of

captivity makes it impractical for the unwilling viewer or auditor to avoid exposure.”

530 U.S. at 707, 718 (cleaned up).

      The Individual Freedom Act’s employment provisions apply only in precisely

such a captive situation. To the extent these provisions burden speech at all, they do

so only where an employee is being coerced into attending an instructional event

that he wishes to but cannot, practically, avoid—at least not without risk to his job

and, hence, his livelihood. Other Supreme Court First Amendment precedents

recognize that the degree of protection for “an employer’s free speech right to

communicate his views to his employees” must “take into account the economic

dependence of the employees on their employers, and the necessary tendency of the

former, because of that relationship, to pick up intended implications of the latter

that might be more readily dismissed by a more disinterested ear.” NLRB v. Gissel

Packing Co., 395 U.S. 575, 617 (1969). Indeed, because of concerns like these, the

U.S. District Court for the Middle District of Florida held, in an influential case, that


                                           41
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 50 of 60




“the regulation of discriminatory speech in the workplace” in general is justified

under the First Amendment because, in part, female workers “are a captive audience

in relation to the speech that comprises the hostile work environment,” given the

“coercion” inherent in “employer-employee relations.” Robinson v. Jacksonville

Shipyards, Inc., 760 F. Supp. 1486, 1535–36 (M.D. Fla. 1991).

      The Supreme Court case law does not make it entirely clear what form of

(diminished) First Amendment scrutiny applies to laws protecting the members of a

captive audience from unwanted speech. The language in some cases intimates that

the First Amendment simply has no application to such speech, see Rowan, 397 U.S.

at 738, and indeed Lehman appeared to apply something akin to rational basis

review, 418 U.S. at 303–04. A more moderate reading of the precedent is that a form

of intermediate scrutiny applies in this context, where “the interests of unwilling

listeners” are balanced against “the rights of speakers.” Hill, 530 U.S. 718; see also

Frisby, 487 U.S. at 488 (upholding anti-picketing ordinance based on the State’s

“substantial and justifiable interest” in protecting captive audiences). Here, the Act’s

employment provisions clearly survive either standard—or, indeed, even strict

scrutiny.

             2.     The Employment Provisions Survive Any Level of
                    Heightened Constitutional Scrutiny.

      As just explained, the Act’s employment provisions serve the “substantial and

justifiable” interest of preventing Florida employers from foisting speech that the


                                          42
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 51 of 60




State finds repugnant on a “captive audience” of employees “who are presumptively

unwilling to receive it.” Frisby, 487 U.S. at 488 (cleaned up). And as discussed

above, the State also clearly has a compelling interest in stamping out invidious

discrimination. See supra, Part II.D; see also Roberts v. U.S. Jaycees, 468 U.S. 609,

626 (1984) (recognizing “compelling state interests” in “[a]ssuring women equal

access” to “business contacts and employment promotions”). There can thus be no

serious doubt that the Act’s employment provisions advance government interests

of the very highest order.

      The provisions are also narrowly tailored to those interests. The Act surgically

targets speech that the State believes reflects invidious bias against certain

employees on the basis of their race, sex, national origin, or religion; and specifically

speech that the employee is forced to listen to or else suffer the consequences. It is

in this narrow context that Florida’s interests—in (1) protecting against invidiously

biased speech aimed at employees on the basis of their race, sex, religion, or national

origin and (2) preventing employers from coercing their employees to listen to

speech that they, like the Florida Legislature, find abhorrent—unite and are at their

apex. And the employment provisions are the least restrictive means of curbing this

practice. They leave employers free to engage in, promote, and pay for any speech

they wish, including the speech targeted by the Act, and they leave willing

employees free to hear and to join in it. All they prevent is the use of the employer’s


                                           43
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 52 of 60




coercive economic leverage over its employees to make them an offer they can’t

refuse: Listen to the company’s speech or clear out your desk.

      Thus, the Act is far narrower than general statutes barring race or sex-based

hostile environments in the workplace, such as Title VII. See 42 U.S.C. §§ 2000e et

seq. Plaintiffs offer no explanation of how the employment provisions at issue here

can be declared unconstitutional without dooming a vast range of routine

employment discrimination claims under Title VII. And unlike the provisions at

issue here, Title VII is not limited to the narrow context where an employer literally

forces its employees to listen to the unwelcome, discriminatory speech as a condition

of keeping their jobs. Any holding striking down the Act’s employment provisions

would thus directly threaten the validity of Title VII’s protections against hostile

working environments. Yet the Supreme Court has endorsed hostile environment

claims. See, e.g., Harris v. Forklift Sys., Inc., 510 U.S. 17, 21–23 (1993). And no

court, to Defendants’ knowledge, has suggested that this entire field of employment

discrimination law is unconstitutional. Yet that is a conclusion that Plaintiffs’

arguments invite.

   IV.   The Challenged Provisions Are Not Unconstitutionally Vague.

      Under the Due Process Clause, a statute is void for vagueness “if it fails to

provide people of ordinary intelligence a reasonable opportunity to understand what

conduct it prohibits” or “if it authorizes or even encourages arbitrary and



                                         44
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 53 of 60




discriminatory enforcement.” Wollschlaeger, 848 F.3d at 1319 (cleaned up). In the

speech context, the government must regulate “with narrow specificity,” but “perfect

clarity and precise guidance have never been required even of regulations that

restrict expressive activity.” Id. at 1320.

      Plaintiffs cite two provisions that they say are unconstitutionally vague. First,

they cite (Pls.’ Br. 47) the Board’s June 2021 regulation providing that instruction

“must be factual and objective, and may not suppress or distort significant historical

events.” See FLA. ADMIN. CODE r. 6A-1.094124(3)(b). As an initial matter, because

this curricular regulation applies only to government speech, it implicates neither

Plaintiffs’ speech or Due Process rights, and the vagueness doctrine is irrelevant. In

any event, Plaintiffs’ argument fails. They say that the regulation “offers no

guidance” on how to determine whether instruction “distorts significant historical

events.” Pls.’ Br. 47. In the very same sentence, however, Plaintiffs acknowledge

that the regulation “offer[s] examples” of instruction that are prohibited. Id. And

apart from this lone and self-contradictory sentence, Plaintiffs make no other

argument that the regulation “fails to provide people of ordinary intelligence a

reasonable opportunity to understand what conduct it prohibits.” Wollschlaeger, 848

F.3d at 1319.

      Plaintiffs also challenge the regulation’s definition of critical race theory,

supra at 6. But their principal complaint appears to be only that the definition


                                              45
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 54 of 60




“sweeps in concepts about institutional racism that far exceed the scope of traditional

critical race theory.” Pls.’ Br. 48. That is not a vagueness argument.

      Plaintiffs also say that the term “[c]ritical race theory lacks a singular

definition even among its proponents.” Id. That is completely irrelevant, since the

regulation adopts its own definition of “critical race theory”—the theory “that racism

is not merely the product of prejudice, but that racism is embedded in American

society and its legal systems in order to uphold the supremacy of white persons.”

See FLA. ADMIN. CODE r. 6A-1.094124(3)(b). And Plaintiffs make no argument that

this definition is vague.

      Plaintiffs also suggest that the regulation’s specific curricular prohibition on

teaching “material from the 1619 Project” shows that the broader prohibition on

material that “suppress[es] or distort[s] significant historical events” invites arbitrary

enforcement because (Plaintiffs imply) there is no other reason for prohibiting the

use of the 1619 Project. But the historical claims in the 1619 Project have been

widely criticized by some of the best historians in the country. See, e.g., Ohlendorf

Decl., Ex. 3. (noting numerous factual criticisms from history professors and

historians). Indeed, when Governor DeSantis spoke at the Department of

Education’s public meeting, he stressed the 1619 Project’s inaccuracies as a basis

for the regulation, stating that the State’s history and civics courses must be

“factual,” and that the 1619 Project’s claims—for example, that “the American


                                           46
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 55 of 60




Revolution was primarily fought to preserve slavery”—were “factually false” as

reflected by “the historical record.” Ohlendorf Decl., Ex. 4. 3 A state regulation that

requires teaching that is “factual and objective” and does not “suppress or distort

significant historical events” is not unconstitutional. And again, the State, not the

Plaintiffs or this Court, must have the final word in any dispute about the historical

accuracy of the 1619 Project or any other curricular question. Bishop, 926 F.2d at

1076.

        Plaintiffs’ concerns that the writings of Dr. Martin Luther King Jr. “would be

banned” under the regulation are equally misplaced. Apart from the fact that Dr.

King’s advocacy and literary works are themselves “significant historical event[s]”

and thus clearly may be taught, the material Plaintiffs quote does not even purport

to discuss historical events—it is instead a call for future actions to achieve justice.

The 1619 Project is a different genre altogether: it is a highly controversial, historical

account of America’s “founding” that the Board has determined to be tendentious

and inaccurate and thus has prohibited from the State’s public-school curriculum.

Making curricular decisions such as this is the Board’s very raison d’etre.

        Plaintiffs next argue that § 760.10(8)(a)(7)’s prohibition on particular

mandatory employee training is unconstitutionally vague because it “hinges entirely


      Although the Pico standard does not apply, see supra at 26, these statements
        3

demonstrate why the provisions here satisfy that standard nonetheless.


                                           47
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 56 of 60




on how certain speech makes the listener feel.” Pls’ Br. 49. But the provision

prohibits required training that espouses or promotes how a person should or must

feel; it says nothing about how any person actually does feel. It prohibits teaching

the idea that an individual, “by virtue of his or her race … must feel guilt, anguish,

or other forms of psychological distress because of” wrongs committed in the past

by other members of that person’s race. FLA. STAT. § 760.10(8)(a)(7) (emphasis

added). The law is utterly indifferent to a person’s actual “feelings” about such

historical wrongs. Thus, the statute is neither ambiguous nor remotely

unconstitutionally vague.4

   V.       Any Unconstitutional Provisions Are Severable.
        To the extent the Court finds Plaintiffs’ claims likely to succeed with respect

to any of the Act’s provisions, it should sever them from the remainder of the Act.

Severability is “a matter of state law,” and in Florida, unconstitutional provisions are

severable even in the absence of a severability clause if “(1) they can be separated

from the remaining valid provisions; (2) the legislative purpose expressed in the

valid provisions can be accomplished independently of those which are void; (3) the



        4
         Plaintiffs’ concede that their overbreadth challenge is entirely subsumed by
their own First Amendment challenges. Pls.’ Br. 50. They offer one paragraph of
analysis and conclude that the provisions are overbroad “[f]or the same reasons” that
they “fail the Pickering balancing test and First Amendment heightened and strict
scrutiny.” Id. Thus, to the extent Plaintiffs even allege an overbreadth claim, it fails
for the same reasons their other claims fail.

                                          48
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 57 of 60




good and the bad features are not so inseparable in substance that it can be said that

the Legislature would have passed the one without the other; and (4) an act complete

in itself remains after the invalid provisions are stricken.” Wollschlaeger, 848 F.3d

at 1318 (cleaned up). Here, each of the provisions of the Act clearly stands on its

own and independently furthers Florida’s interests in enacting it. If any portion of

the Act is held unconstitutional, it should be severed from the remaining, valid

provisions.

   VI.   Plaintiffs Are Not Entitled to a Preliminary Injunction.
              A. Plaintiffs Have Not Shown Irreparable Injury.
      Plaintiffs’ cursory argument that the Act will cause them irreparable harm is

based entirely on the rule that “[v]iolations of First Amendment freedoms” are per

se “irreparable injury,” Pls.’ Br. 50. But because they have not shown any likelihood

that the Act actually violates any First Amendment freedoms, this presumption does

not apply.

      Plaintiffs’ failure to show irreparable harm is especially pronounced with

respect to their challenge to the Board’s June 2021 rule, which has been on the books

for nearly twelve months. Plaintiffs’ almost year-long delay should foreclose their

demand for emergency relief. See Wreal, 840 F.3d at 1248 (plaintiff’s “unexplained

five-month delay in seeking a preliminary injunction, by itself, fatally undermined

any showing of irreparable injury”).



                                         49
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 58 of 60




             B. The Balance of the Equities Militates Against Preliminary
                Injunctive Relief.

      The balance of the equities and the public interest weigh decisively against

enjoining the Act. As shown above, the State has a compelling—constitutionally

imperative—interest in ending discrimination based on race and other immutable

characteristics, and enjoining the Act will sanction conduct and curricular speech

that Florida has determined, in the exercise of its sovereign judgment, is pernicious

and contrary to the State’s most cherished ideals. “Any time a State is enjoined by a

court from effectuating statutes enacted by representatives of its people, it suffers a

form of irreparable injury,” Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts,

C.J., in chambers) (cleaned up), and that is true all the more when the statute at issue

furthers interests as fundamental as those at the heart of Florida’s Individual

Freedom Act.

                                   CONCLUSION

      For the foregoing reasons, Plaintiffs’ motion for a preliminary injunction

should be denied.




                                          50
  Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 59 of 60




Dated: June 1, 2022                        Respectfully Submitted,

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                                      51
    Case 4:22-cv-00166-MW-MJF Document 40-1 Filed 06/01/22 Page 60 of 60




                     CERTIFICATE OF WORD COUNT

      Pursuant to Northern District of Florida Rule 7.1(F), the undersigned counsel

hereby certifies that the foregoing Defendant’s Memorandum in Opposition to

Plaintiffs’ Motion for Preliminary Injunction, including body, headings, quotations,

and footnotes, and excluding those portions exempt by Local Rule 7.1(F), contains

11,908 words as measured by Microsoft Office for Word 365.

                                                   s/     Charles J. Cooper
                                                          Charles J. Cooper
